Case 3:17-cv-00072-NKM-JCH Document 118 Filed 11/21/17 Page 1 of 9 Pageid#: 524
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   YM TED STATESDISM CT COURT FOR 'I'HE W ESTERN DISY CT 0#
                                   CH AR I,O TTESVD LE DIW SION


   ELIZARETH STNES,ET AL.,                                       Case N0.3:17-> * 0072-NK M

   Plaintiœ ,                                                    H om N orm an K .M oon

    V.

   JA SON K ESSLER,ET AL.,

    Defendants.

                          G M OR ANDUM IN SW PORT O F M O TION TO DISY SS O F
                                DEFENDAN T Y G AEL PEG O W CH

            DefendantM ichaelPeinovich,Pro Se,submitsthism emorandum insùpportofhis

   motiontodismissPlaintiœ scomplaintpumunnttoFed.R.Civ.P.12(1946).
                       FA CTUA L ALLEG ATION S AS TO Y G AEL PEG OW CH

         Though PlaintiFs,in a transw rentlaw fare tactic to try to intim idàte,bane pt and silence

   defendantPeinovich and otherdefendants,havefileda g&pagecomplaintthecomplaint
   containsno plausible allegationstllatPeinovich did anything unlaw fulornotfully proteded by

   the FH and Second Am endm cntsto the United StatesConstitution. Here arethe few ,sparse,

   and conclusory allegafonsthateven m ention Peinovich:

   Page 1- Peinovich'snam e appearsin the lis.tofdefendants.

   Page I7,paran ph 43 - Peinovich'snam eappearsin a palan ph describing who heisand

   where he isgom .

   Page 19,param ph 51- Peinovich'sname appearsin a listofpeople thatattended the M ay l3,

   2017demonsH uonsin Charlottesville.n ispararaphmakesnoallegationsofillegalactivil.




                                                     1
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   Page 20,paragraph 53 - Peinovich'snam e appearsin aparam ph describing theM ay 13th

   event alsomakingnoallegationsofwrongfulactions.
   Page 23,paragraph 63 - Peinovich'snam e appears in a listofpeoplethatallegedly planned and

   coordinated supposedly ''illegalactstllatoccurred''in Chadottesville on Aug 12,2017.

   Page40,param ph 119 -Thisparan ph allegesthatPeinovich and anotherperson announced a

   generallegalfund and gaveadvice on getting transportalion to the event.

   Page43,paragraph 131-Thisparagraph allegesthatPeinovich m ade athreateningtweetto1he

   business ownersin Charlottesville.Thetweetw asin factw arning the businessesaboutleRist

   violence.

   Page 54,param ph 174 -Thisparam ph allegesthaton Aug 12,2017 Peinovich and others

   ''executed''a supposed plan to carry outethnic/religiousbased yiolence.

   Page 65,paragraph 210 -n isparan ph spem ofPeinovich being in M clntirepark at1:00pm

   August12,2017.ltthen K'IIKSabouta violentincidentthatallegedly happened there that

   Peinovich neitherw im essed noreverheard aboutanywhere else.

   Page 65.paragraph 211 -Thisparagraph allegesPeinovich called the counter-protesterssavages.

   Here isavideo ofPeinovich'sspeeoh:he s://-         .vouo be.com /watchv anevsW -cH . As

   thevidcomakesclear,although Peinovichwasrightfullycrkicaloftheviolencethreatened and

   inflictedV thecounter-protestors,hisspeechemphasizedtheimportanceoftheprmmonument
   dem onM torspeacefully exercising lheirFirstAmendm entrights.

   Page 86,param ph 298 -n isparagraph allegqsPeinovich arranged forlegalrepresentation and

   transportation forpeople attending the rally in orderto supposedly engage in illegalacts.




                                                  2
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   Page 86,pam graph 299 -n isparagraph allegesPeinovich appeared op aprom otionalpos-terfor

   the event.



     'I'hrœ Suprem e Courtcmses dem onstratewhy thisharissing,m endacious,and un-A merican

   complaintshouldbedismissed:BellAtlanticv.Twombly,550U.S.544(200W,Ashcro? v.
   Iqbal,556U.S.662(2009),andSnyderv.Phelps,562U.S.443(2011).
          The Courtin Iqbalsumm adzed thenew pleading standard ithad earlieradopted in

   Twombly:


         AstheCourtheld in Twombln 550 U.S.544,thepltoding e ndàrd'Rule 8snnounces
         doesnotrequire Tçdetailed factualallegauonsl butItdemandsmore th* an unadorned,
         l e-defendO t-c lae lly-ha= e -m e accusation.Id.,at555 ....A plemding thatoFers
         cKlabels and conclusions''or <ta'formulaic rœ'itation oftlw elem ents of a cause of ad ion
         w ill not do-'' 550 U . S., at 555.N or does a com plaint sum ce if it tenders Rnaked
          mssertionlsr devoidofGfurtherfactualenhancement''M ,at557.Tosurviveamotionto
         dksmiss,a com plaintm ustcontain suœ cient factualm atter,accepted asm ze,to ttstate a
         claim to reliefth1 is plausible on its fnr*.''Ii ,at 570,A claim hms facialplausibility
         when the plaintiF pleads factual content that allow s the courtto draw the reasonable
         inference that 'the defendant is liable for the m isconduc't alleged. 1é , at 556. The
         plausibility e ndard ...it msts for m ore than a sheer possibility tbata defendant hms
         acted unlaw fully.Ibid.W here a com plaintpleadsfactsth1 are tu erely consistentw ith''a
         defendant's liability,it Eçs-tops shortof the line between possibility and plausibility of
          çentitlementtorelief'''Id.,at557(bracketsomitted).
          Iqbal,556 U .S.at665.


         And further:

          Two w orking principles underlie ollrdecision in Twombl  y.Firstmthe tenetthata court
         m us'tnrmnptaslrue alloflhe allegations contained in a com plaintisinapplicable to legal
         conclusions.Th= dbare recitals ofthe elem ents ofa cause ofaction,supported by m ere
         conclusory statements,do notsuœ ce... Rule 8 m arksa notable and generousdeparture
         9om the hyper-technical,code-pleading regim e ofa priorerw butitdbesnotunlock the
         doors of discovery for a plaintifl-srmed with nothing m ore t1- conclusions. Seconds
         only a com plaintthatstates a plausible claim forreliefsurvives a m ouon to dism iss.Id.,
         at556.Determ ining w hether a com plaintAzees a plausible claim forreliefw ill...be a
         context-s- ifk task thatrequiresthereviewing courttodraw onitsjudicialexperience
                                                 3
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          and comm on sense.BG where the well-pleaded facts do notperm it the courtto infer
          morethan the merepossibility ofmisconduct thecomplainthasalleged- btltithasnot
          Efshowlnr--l%hattheple-
                                qderisentitledtorelief''
   Iqbal,556 U .S.at665.

          n eTwomblvandIqbalcasesandthestandardstheyadopthaveadirectapplicationto
   theplaintifrs'com plaintin thiscase.

          First astoallthedefendants,butparticularly asto Peinovich,thecomplaintcontains

   nofhing butconclusory statem ents,naked mssertionl,labels,and EV e-defendant-unlaw fully-

   harm ed-m e accusations.''

          Secondsthe Twom bly and Iqbaldecisionsemphasizethatcontextand comm on sense are

   criticalin evaluating the m m plaint'sallegations. The obviouscontextin thiscase isthe

   defendsnts'pndicipation in classic FirstAm endm entactivity: m arching,speechesin parks,

   carrying signs,expressing politicalprotests.PlaintiFscomplain tllatthe defendsnts'activities

   w ere highly oFenKive,butthe Suprem e CourtlmqoRen noted thatitisprecisely oFensive speech

   thatrequiresFH AmenA entmotedion.AstheSupremeCourtstatedinSnyderv.#àeW :

          The FH Amendm ent retlects Ra m ofound national com m itment to the principle that
          debate on public issuesshould be uninhibitedsrobdll and wide-open-''New York Times
          Co.v.Sullivan,376 U.S.254,270 (1964).Thatisbecause Rsp- h concemingpublic
          afl-
             airs is m ore than selFexpression;it is the essence of self-governm ent-''Garrison v.
          Louisinnn,379U.S.64,74-75 (1964).Accordingly,ççspeech on publicissuesoccupies
          the highestnmg ofthe hierarçhy ofFH Amendmentvalues,and is entitled to special
          protecuom''Connick v.Myers,461 U.S.138,145 (1983)tinternalquotation marks
          omite ).


           Given thatW estboro's speech w ms ata public place on a m atterofpublic concem ,that
          speechisentitledtoRspecialprotedion''undertheFH Amendment.Sqchqeechclmnot
          berestricted simply because itisupsettinq orarousescontempt.t<lflerelsabedrock
          principleunderlyingtheFirstAmendment ltisthatthe govemmentmay potprohibitthe
          expression of an idea sim ply because society fmds the idea itself oFensive or
          disagr--qble.''Fe= v.Johnson,491U.S.397,414 (1989).Ind-zlaY epointofall
                                                 4
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              speechprotection...istoshieldjustthosechoicesofcontentthatinsomeone'seyesare
              m isguidedaoreven hurtful.''H urley v.Irish-Am erican Gm &Lesbian tzzll#f-
                                                                                       çexlzzz/Group
              ofBoston,Jzlc.,515U.S.557,574(1995).
              'Ihejuryherewasine ldedlhatitcouldholdWestboroliableforintentionalinflictionof
              em otional dkstress based on a fmding that W estboro's picketing wms ççoutrageous.''
              Gœ trageousness,'' however, is a llighly m alleable standard with Ran inherent
              subjectivenessaboutitwhich wouldallow ajuryto imposeliability on thebasisofthe
              jurors'tnqtesorviewm orperhapsonthebmsisoftheirdkslikeofapaeicularexpressiom''
              Husder,4:5U.S.,at55(internalquotationmarksomitted).lnacasesuch asthis,ajury
               is Rlmlikely to beneutralwith respectto the.contentofFhe)speechs''posing <:areal
.             dimgerofb- ming an inse mentforthe suppression of...tvehement caustic,and
              sometimesunplenunlq'''expression.BoseCor#.,466 U.S.,at510(quotingNew York
              Times,376 U.S.,at270).Such a risk istmacèeptable;:% public debate (we)mus't
              tolem te insulting,and even outrageous,speech in order to provide adequate çbreatbing
              space'to the gealom sproteded by the FH Am endm ent''Boos #.#- ,485 U .S.312,
              322 (1988)(someinternalquotationmarksomifle.
                                                         d).WIA Westboro saidsinthewhole
              contextofhow and where itchose to say itais entitled to Rspecialprotection''underthe
              FirstAmendmentsand thatprotedion cannotI)eovercome by ajury fmding thattlle
              picketing wasoutrageous.

              PlaltiFs'ae ontto FH Am endm entprinciplesisaIlthe m ore eg egiousgiven thatthey

       seeknotonlydnmages-nodoubthugedamages-butulilnjunctivereliefenjoiningDefendants
       âom futureviolationsofrightsguaranteedbystateandfederallam ''i.e.,aninjpnctionthatwill
       intim idate defendantsâom everagain s'tepping outsidethe narrow conlnes ofpolitical

       ohhodoxy.


              ThirdsastheCourtstatedinIqbal,qwlhereacomplaintpleadsfadsthatareEmerely
       consistentw ith'a defendsnt's liability,itEstopsshortoftheline between possibility and

       plausibility of tentitlem entto relief''' Even assum ing,contrary to factsthatthe defendsmts'

       condud msalleged in the com plaintcould som ehow be viewed asad ionable,thatconductisalso

       manifestlysubjed tobeingviewedasadivityprotectedby1heFH andSecondAmendments.
       Accordingly,the alleged conductGstopsshortofthe line between possibility and plausibility''

       thatitm ustreach underTwombly andIqbal.n e fnctqand holding in Twombly are inse dive:

                                                       5
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   thère,wheretheallegid ShermanActconspH cy could beviewed asactipnablebutalso as
   nonactionable,thçm otion to dism issw asgranted.


          Fourth,tlleCourtinTwomby rejededthe5ustletthecmsegotodiscoveryandsllmmary
   judm enf'tationalethattheplaintifl)willundoubtedlyhwokeinthiscue.'I'
                                                                      heCourtstated:

          ltisno gnswerto say thataclaim justshy ofaplausibleentitlH entto reliefpàn.if
          groundless, be w ea led out early in the discovery process.tbrough careful case
          management...given thc common lamentthatthe sùccessofjudièialsupervision in
          checking discovery abuse has been on the m odestside.See,e.g.,FmKterbrookoD iscovery
          tz.
            :Abuse,69 B.U.L.Rev.635,638 (1989)(Judgescan dp little aboutimpositional
          discovery w hen partiesconkolthe legalclaim sto be presented and conductthe discovery
          themselves).Anditisself-evidentthattheproblem ofdiscoveryabusecsnnotbesolved
          by careful scrutiny of evidence at the summary judgment stage,much less lucid
          instructionstojuries;thethreatofdiscoveryex#ensewillgushcos-t-consciousdefendants
          to settle even anem ic casesbefore reaching those proc- zlm gs.Probably.l en,itis only
                                                                  '
                .
          bytaklnge.nnztorequireallçgatiopsthatreachthelevelj'ugjestinéconspiracythatwe
          can hope to avoid the potensially enormous expense of dlscovery in cmsùs with no
          reasonably fotmded hope thatthe (diqcovee proceséFillrevealrelevantevidenceto
          s'
           upporta B1claim .                           '

          'I'heplaintiffsinthisemqehaveenörmousreyourcesontheirside.Severalmajorlaw
   firm s,no doubtworking pro bono,with probably dozensofattom eys and deep pocketsfor

   depositionsandotherdiscoveryexpenses,are lined uptorepresentthemkPeiùovichsby contrasta

   hmsnotbeen ableto fmd a single lawyemlicensed in Virginiato takelliscaàe,despite the

   supposedblltapparently illusoryethicalobligation laN ershaveto'representunpopularclients
   and tq assure atIO'G a semblance ofa fairtrial. M assive,expensive,dl'aw n out,and invmsive

   discovery w illin itselfbea huge in terrorem victory fortheplaintiFs,and probably the only

   realisticvictory they hope to achieve,given the indigenceofm os'tofthù defendants.


                                          CO NCLUSION



                                                 6
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         Thecomplaintin thiscase is a spurious,albeitwellfmancedaactoflawfarethatshould

   sham eany attom ey who hasa genuine respectforprinciplesofâee speech and assem bly. lts

   aim isto intim idateandbankruptthedefendants,and itsatithorscarelittleifthey dnmagethe
   FirstAm endm entin the process. The complaintshould bedismissed im m ediately asto

   Peinovich and al1otherdefendants.

          Peinovich adoptsand incorporatesthe m otionstp dism iss and supporting m em oranda

   filed by defendantsLeagueofthe South and M atthew Parrott




                                                              Respectfully subm itted,




                                                              M ichaelPeinovich,Pro Se
                                                                               O




                                       CER TH /CATE O F SER NIC E
                                                                                                '
                                                                                                    ;
                                                                                               t;

      Onthis16thdayofNovember,7017,IMichaelPeinovichcertifythatlmajledcopiesofthis
   m em orandum in supportànd the accom panying m otion to:




                                                7
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                                      8
Case 3:17-cv-00072-NKM-JCH Document 118 Filed 11/21/17 Page 9 of 9 Pageid#: 532




                                               M ichaelPeinovich




                                      9
